             Case 24-10100-amc                     Doc 13        Filed 02/13/24 Entered 02/13/24 22:27:45                            Desc Main
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Fill in this information to identify your case and this filing:


Debtor 1          __________________________________________________________________
                    First Name               Middle Name               Last Name

Debtor 2            ________________________________________________________________
(Spouse, if filing) First Name               Middle Name               Last Name


United States Bankruptcy Court for the: __________ District of ___________

Case number         ___________________________________________
                                                                                                                                             Check if this is an
                                                                                                                                             amended filing

                                 106A/B
Schedule A/B: Property                                                                                                                                  12/15

In each category, separately list and describe items. List an asset only once. If an asset fits in more than one category, list the asset in the
category where you think it fits best. Be as complete and accurate as possible. If two married people are filing together, both are equally
responsible for supplying correct information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
write your name and case number (if known). Answer every question.

Part 1:        Describe Each Residence, Building, Land, or Other Real Estate You Own or Have an Interest In

1. Do you own or have any legal or equitable interest in any residence, building, land, or similar property?

         No. Go to Part 2.
         Yes. Where is the property?
                                                                 What is the property? Check all that apply.       Do not deduct secured claims or exemptions. Put
                                                                     Single-family home                            the amount of any secured claims on Schedule D:
      1.1. _________________________________________                                                               Creditors Who Have Claims Secured by Property.
                                                                     Duplex or multi-unit building
           Street address, if available, or other description
                                                                     Condominium or cooperative                    Current value of the     Current value of the
                                                                     Manufactured or mobile home                   entire property?         portion you own?
             _________________________________________
                                                                     Land                                          $________________        $_______________
                                                                     Investment property
             _________________________________________                                                             Describe the nature of your ownership
                                                                     Timeshare
             City                    State   ZIP Code                                                              interest (such as fee simple, tenancy by
                                                                     Other __________________________________
                                                                                                                   the entireties, or a life estate), if known.
                                                                 Who has an interest in the property? Check one.
                                                                                                                   __________________________________________
                                                                    Debtor 1 only
             _________________________________________
             County                                                 Debtor 2 only
                                                                    Debtor 1 and Debtor 2 only                        Check if this is community property
                                                                                                                      (see instructions)
                                                                    At least one of the debtors and another
                                                                 Other information you wish to add about this item, such as local
                                                                 property identification number: _______________________________
    If you own or have more than one, list here:
                                                                What is the property? Check all that apply.        Do not deduct secured claims or exemptions. Put
                                                                    Single-family home                             the amount of any secured claims on Schedule D:
      1.2. ________________________________________                                                                Creditors Who Have Claims Secured by Property.
                                                                    Duplex or multi-unit building
           Street address, if available, or other description
                                                                   Condominium or cooperative                      Current value of the     Current value of the
                                                                    Manufactured or mobile home                    entire property?         portion you own?
             ________________________________________
                                                                    Land                                           $________________        $_________________
                                                                    Investment property
             ________________________________________
                                                                    Timeshare
                                                                                                                   Describe the nature of your ownership
             City                    State   ZIP Code                                                              interest (such as fee simple, tenancy by
                                                                    Other __________________________________       the entireties, or a life estate), if known.
                                                                Who has an interest in the property? Check one.    __________________________________________

                                                                   Debtor 1 only
             ________________________________________
             County                                                Debtor 2 only
                                                                   Debtor 1 and Debtor 2 only                         Check if this is community property
                                                                   At least one of the debtors and another            (see instructions)

                                                                Other information you wish to add about this item, such as local
                                                                property identification number: _______________________________


Official Form 106A/B                                            Schedule A/B: Property                                                              page 1
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                                                                  What is the property? Check all that apply.              Do not deduct secured claims or exemptions. Put
                                                                      Single-family home                                   the amount of any secured claims on Schedule D:
    1.3. ________________________________________                                                                          Creditors Who Have Claims Secured by Property.
         Street address, if available, or other description           Duplex or multi-unit building
                                                                     Condominium or cooperative                            Current value of the     Current value of the
                                                                                                                           entire property?         portion you own?
            ________________________________________                  Manufactured or mobile home
                                                                      Land                                                 $________________        $_________________

            ________________________________________
                                                                      Investment property
            City                    State   ZIP Code                  Timeshare                                            Describe the nature of your ownership
                                                                                                                           interest (such as fee simple, tenancy by
                                                                      Other __________________________________             the entireties, or a life estate), if known.
                                                                                                                          __________________________________________
                                                                  Who has an interest in the property? Check one.
            ________________________________________                 Debtor 1 only
            County
                                                                     Debtor 2 only
                                                                     Debtor 1 and Debtor 2 only                                Check if this is community property
                                                                                                                               (see instructions)
                                                                     At least one of the debtors and another

                                                                  Other information you wish to add about this item, such as local
                                                                  property identification number: _______________________________


2. Add the dollar value of the portion you own for all of your entries from Part 1, including any entries for pages
                                                                                                                                                    $_________________
   you have attached for Part 1. Write that number here. ......................................................................................




Part 2:      Describe Your Vehicles


Do you own, lease, or have legal or equitable interest in any vehicles, whether they are registered or not? Include any vehicles
you own that someone else drives. If you lease a vehicle, also report it on Schedule G: Executory Contracts and Unexpired Leases.

3. Cars, vans, trucks, tractors, sport utility vehicles, motorcycles

       No
       Yes

            Make:                      ______________             Who has an interest in the property? Check one.          Do not deduct secured claims or exemptions. Put
   3.1.
                                                                                                                           the amount of any secured claims on Schedule D:
            Model:                     ______________                Debtor 1 only                                         Creditors Who Have Claims Secured by Property.
                                                                     Debtor 2 only
            Year:                      ____________                                                                        Current value of the      Current value of the
                                                                     Debtor 1 and Debtor 2 only
            Approximate mileage: ____________                                                                              entire property?          portion you own?
                                                                     At least one of the debtors and another
            Other information:
                                                                     Check if this is community property (see              $________________         $________________
                                                                     instructions)



   If you own or have more than one, describe here:

           Make:                       ______________             Who has an interest in the property? Check one.          Do not deduct secured claims or exemptions. Put
   3.2.
                                                                                                                           the amount of any secured claims on Schedule D:
           Model:                      ______________                Debtor 1 only                                         Creditors Who Have Claims Secured by Property.
                                                                     Debtor 2 only
           Year:                       ____________                                                                        Current value of the      Current value of the
                                                                     Debtor 1 and Debtor 2 only
                                                                                                                           entire property?          portion you own?
           Approximate mileage: ____________                         At least one of the debtors and another
           Other information:
                                                                     Check if this is community property (see              $________________         $________________
                                                                     instructions)




                                                                  Schedule A/B: Property                                                                    page 2
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                  First Name          Middle Name               Last Name




           Make:                             ______________                  Who has an interest in the property? Check one.                            Do not deduct secured claims or exemptions. Put
   3.3.
                                                                                                                                                        the amount of any secured claims on Schedule D:
           Model:                            ______________
                                                                                  Debtor 1 only                                                         Creditors Who Have Claims Secured by Property.
                                                                                  Debtor 2 only
           Year:                             ____________                                                                                               Current value of the        Current value of the
                                                                                  Debtor 1 and Debtor 2 only
           Approximate mileage: ____________                                                                                                            entire property?            portion you own?
                                                                                  At least one of the debtors and another
           Other information:
                                                                                  Check if this is community property (see                              $________________           $________________
                                                                                  instructions)


           Make:                             ______________                  Who has an interest in the property? Check one.                            Do not deduct secured claims or exemptions. Put
   3.4.
                                                                                                                                                        the amount of any secured claims on Schedule D:
           Model:                            ______________
                                                                                  Debtor 1 only                                                         Creditors Who Have Claims Secured by Property.
                                                                                  Debtor 2 only
           Year:                             ____________                                                                                               Current value of the        Current value of the
                                                                                  Debtor 1 and Debtor 2 only
           Approximate mileage: ____________                                                                                                            entire property?            portion you own?
                                                                                  At least one of the debtors and another
           Other information:
                                                                                  Check if this is community property (see                              $________________           $________________
                                                                                  instructions)




4. Watercraft, aircraft, motor homes, ATVs and other recreational vehicles, other vehicles, and accessories
   Examples: Boats, trailers, motors, personal watercraft, fishing vessels, snowmobiles, motorcycle accessories
        No
        Yes


           Make:        ____________________                                 Who has an interest in the property? Check one.                            Do not deduct secured claims or exemptions. Put
   4.1.
                                                                                                                                                        the amount of any secured claims on Schedule D:
           Model: ____________________                                            Debtor 1 only                                                         Creditors Who Have Claims Secured by Property.
                                                                                  Debtor 2 only
           Year:        ____________
                                                                                  Debtor 1 and Debtor 2 only                                            Current value of the        Current value of the
           Other information:                                                     At least one of the debtors and another                               entire property?            portion you own?

                                                                                  Check if this is community property (see                              $________________           $________________
                                                                                  instructions)



   If you own or have more than one, list here:

           Make:        ____________________                                 Who has an interest in the property? Check one.                            Do not deduct secured claims or exemptions. Put
   4.2.
                                                                                                                                                        the amount of any secured claims on Schedule D:
           Model: ____________________                                            Debtor 1 only                                                         Creditors Who Have Claims Secured by Property.
                                                                                  Debtor 2 only
           Year:        ____________                                                                                                                    Current value of the        Current value of the
                                                                                  Debtor 1 and Debtor 2 only
                                                                                                                                                        entire property?            portion you own?
           Other information:                                                     At least one of the debtors and another

                                                                                                                                                        $________________           $________________
                                                                                  Check if this is community property (see
                                                                                  instructions)




5. Add the dollar value of the portion you own for all of your entries from Part 2, including any entries for pages
                                                                                                                                                                                   $_________________
   you have attached for Part 2. Write that number here ........................................................................................................................




                                                                               Schedule A/B: Property                                                                                     page 3
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Part 3:        Describe Your Personal and Household Items

                                                                                                                                                                                             Current value of the
Do you own or have any legal or equitable interest in any of the following items?                                                                                                            portion you own?
                                                                                                                                                                                             Do not deduct secured claims
                                                                                                                                                                                             or exemptions.

6. Household goods and furnishings
   Examples: Major appliances, furniture, linens, china, kitchenware
        No
        Yes. Describe. ........                                                                                                                                                               $___________________

7. Electronics
   Examples: Televisions and radios; audio, video, stereo, and digital equipment; computers, printers, scanners; music
             collections; electronic devices including cell phones, cameras, media players, games
        No
        Yes. Describe. .........                                                                                                                                                              $___________________

8. Collectibles of value
   Examples: Antiques and figurines; paintings, prints, or other artwork; books, pictures, or other art objects;
             stamp, coin, or baseball card collections; other collections, memorabilia, collectibles
      No
      Yes. Describe. .........                                                                                                                                                                $___________________

9. Equipment for sports and hobbies
   Examples: Sports, photographic, exercise, and other hobby equipment; bicycles, pool tables, golf clubs, skis; canoes
             and kayaks; carpentry tools; musical instruments
        No
        Yes. Describe. .........                                                                                                                                                              $___________________

10. Firearms
   Examples: Pistols, rifles, shotguns, ammunition, and related equipment
      No
      Yes. Describe. ..........                                                                                                                                                               $___________________

11. Clothes
   Examples: Everyday clothes, furs, leather coats, designer wear, shoes, accessories
        No
        Yes. Describe. ..........                                                                                                                                                             $___________________


12. Jewelry
   Examples: Everyday jewelry, costume jewelry, engagement rings, wedding rings, heirloom jewelry, watches, gems,
             gold, silver
        No
        Yes. Describe. ..........                                                                                                                                                             $___________________

13. Non-farm animals
   Examples: Dogs, cats, birds, horses

        No
        Yes. Describe. ..........                                                                                                                                                             $___________________

14. Any other personal and household items you did not already list, including any health aids you did not list

        No
        Yes. Give specific
                                                                                                                                                                                              $___________________
        information. ..............

15. Add the dollar value of all of your entries from Part 3, including any entries for pages you have attached                                                                                $______________________
   for Part 3. Write that number here ....................................................................................................................................................



                                                                                      Schedule A/B: Property                                                                                              page 4
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Part 4:      Describe Your Financial Assets

Do you own or have any legal or equitable interest in any of the following?                                                                                                                                  Current value of the
                                                                                                                                                                                                             portion you own?
                                                                                                                                                                                                             Do not deduct secured claims
                                                                                                                                                                                                             or exemptions.


16. Cash
   Examples: Money you have in your wallet, in your home, in a safe deposit box, and on hand when you file your petition

      No
      Yes ................................................................................................................................................................   Cash: .......................    $__________________



17. Deposits of money
   Examples: Checking, savings, or other financial accounts; certificates of deposit; shares in credit unions, brokerage houses,
             and other similar institutions. If you have multiple accounts with the same institution, list each.
      No
      Yes .....................                                                                 Institution name:


                                            17.1. Checking account:                             _________________________________________________________                                                     $__________________

                                            17.2. Checking account:                             _________________________________________________________                                                     $__________________

                                            17.3. Savings account:                              _________________________________________________________                                                     $__________________

                                            17.4. Savings account:                              _________________________________________________________                                                     $__________________

                                            17.5. Certificates of deposit:                      _________________________________________________________                                                     $__________________

                                            17.6. Other financial account:                      _________________________________________________________                                                     $__________________

                                            17.7. Other financial account:                      _________________________________________________________                                                     $__________________

                                            17.8. Other financial account:                      _________________________________________________________                                                     $__________________

                                            17.9. Other financial account:                      _________________________________________________________                                                     $__________________




18. Bonds, mutual funds, or publicly traded stocks
  Examples: Bond funds, investment accounts with brokerage firms, money market accounts
      No
      Yes .................                 Institution or issuer name:

                                            _________________________________________________________________________________________                                                                         $__________________
                                            _________________________________________________________________________________________                                                                         $__________________
                                            _________________________________________________________________________________________                                                                         $__________________




19. Non-publicly traded stock and interests in incorporated and unincorporated businesses, including an interest in
   an LLC, partnership, and joint venture

      No                                    Name of entity:                                                                                                                  % of ownership:
      Yes. Give specific                    _____________________________________________________________________                                                            ___________%                     $__________________
      information about
      them.........................         _____________________________________________________________________                                                            ___________%                     $__________________
                                            _____________________________________________________________________                                                            ___________%                     $__________________




                                                                                               Schedule A/B: Property                                                                                                     page 5
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                   First Name           Middle Name            Last Name




20. Government and corporate bonds and other negotiable and non-negotiable instruments
   Negotiable instruments include personal checks, cashiers’ checks, promissory notes, and money orders.
   Non-negotiable instruments are those you cannot transfer to someone by signing or delivering them.

       No
       Yes. Give specific               Issuer name:
       information about
       them.......................      ______________________________________________________________________________________            $__________________
                                        ______________________________________________________________________________________
                                                                                                                                          $__________________
                                        ______________________________________________________________________________________
                                                                                                                                          $__________________


21. Retirement or pension accounts
   Examples: Interests in IRA, ERISA, Keogh, 401(k), 403(b), thrift savings accounts, or other pension or profit-sharing plans
       No
       Yes. List each
       account separately.              Type of account:          Institution name:

                                        401(k) or similar plan:   ___________________________________________________________________     $__________________

                                        Pension plan:             ___________________________________________________________________     $__________________

                                        IRA:                      ___________________________________________________________________     $__________________

                                        Retirement account:       ___________________________________________________________________     $__________________

                                        Keogh:                    ___________________________________________________________________     $__________________

                                        Additional account:       ___________________________________________________________________     $__________________

                                        Additional account:       ___________________________________________________________________     $__________________



22. Security deposits and prepayments
   Your share of all unused deposits you have made so that you may continue service or use from a company
   Examples: Agreements with landlords, prepaid rent, public utilities (electric, gas, water), telecommunications
   companies, or others

       No
       Yes ..........................                         Institution name or individual:

                                        Electric:             ______________________________________________________________________      $___________________
                                        Gas:                  ______________________________________________________________________      $___________________
                                        Heating oil:          ______________________________________________________________________
                                                                                                                                          $___________________
                                        Security deposit on rental unit: _____________________________________________________________
                                                                                                                                          $___________________
                                        Prepaid rent:         ______________________________________________________________________
                                                                                                                                          $___________________
                                        Telephone:            ______________________________________________________________________
                                                                                                                                          $___________________
                                        Water:                ______________________________________________________________________
                                                                                                                                          $___________________
                                        Rented furniture:     ______________________________________________________________________
                                                                                                                                          $___________________
                                        Other:                ______________________________________________________________________
                                                                                                                                          $___________________


23. Annuities (A contract for a periodic payment of money to you, either for life or for a number of years)

       No
       Yes ..........................   Issuer name and description:
                                         _______________________________________________________________________________________          $__________________
                                        _______________________________________________________________________________________           $__________________
                                        _______________________________________________________________________________________           $__________________


                                                                           Schedule A/B: Property                                                   page 6
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24. Interests in an education IRA, in an account in a qualified ABLE program, or under a qualified state tuition program.
   26 U.S.C. §§ 530(b)(1), 529A(b), and 529(b)(1).
       No
       Yes ....................................   Institution name and description. Separately file the records of any interests.11 U.S.C. § 521(c):

                                                  ____________________________________________________________________________________                 $_________________
                                                  ____________________________________________________________________________________                 $_________________
                                                  ____________________________________________________________________________________                 $_________________


25. Trusts, equitable or future interests in property (other than anything listed in line 1), and rights or powers
   exercisable for your benefit

       No
       Yes. Give specific
       information about them. ...                                                                                                                     $__________________


26. Patents, copyrights, trademarks, trade secrets, and other intellectual property
   Examples: Internet domain names, websites, proceeds from royalties and licensing agreements
       No
       Yes. Give specific
       information about them. ...                                                                                                                     $__________________


27. Licenses, franchises, and other general intangibles
   Examples: Building permits, exclusive licenses, cooperative association holdings, liquor licenses, professional licenses

       No
       Yes. Give specific
       information about them. ...                                                                                                                     $__________________


Money or property owed to you?                                                                                                                         Current value of the
                                                                                                                                                       portion you own?
                                                                                                                                                       Do not deduct secured
                                                                                                                                                       claims or exemptions.

28. Tax refunds owed to you

       No
       Yes. Give specific information                                                                                        Federal:              $_________________
            about them, including whether
            you already filed the returns                                                                                    State:                $_________________
            and the tax years. .......................
                                                                                                                             Local:                $_________________


29. Family support
   Examples: Past due or lump sum alimony, spousal support, child support, maintenance, divorce settlement, property settlement
       No
       Yes. Give specific information. .............
                                                                                                                            Alimony:                   $________________
                                                                                                                            Maintenance:               $________________
                                                                                                                            Support:                   $________________
                                                                                                                            Divorce settlement:        $________________
                                                                                                                            Property settlement:       $________________

30. Other amounts someone owes you
   Examples: Unpaid wages, disability insurance payments, disability benefits, sick pay, vacation pay, workers’ compensation,
             Social Security benefits; unpaid loans you made to someone else
       No
       Yes. Give specific information. ..............
                                                                                                                                                       $______________________



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31. Interests in insurance policies
   Examples: Health, disability, or life insurance; health savings account (HSA); credit, homeowner’s, or renter’s insurance
        No
        Yes. Name the insurance company             Company name:                                                                                Beneficiary:                                  Surrender or refund value:
             of each policy and list its value. ...
                                                                     ___________________________________________ ____________________________                                                  $__________________
                                                                     ___________________________________________ ____________________________                                                  $__________________
                                                                     ___________________________________________ ____________________________                                                  $__________________

32. Any interest in property that is due you from someone who has died
   If you are the beneficiary of a living trust, expect proceeds from a life insurance policy, or are currently entitled to receive
   property because someone has died.
        No
        Yes. Give specific information. .............
                                                                                                                                                                                               $_____________________


33. Claims against third parties, whether or not you have filed a lawsuit or made a demand for payment
   Examples: Accidents, employment disputes, insurance claims, or rights to sue
        No
        Yes. Describe each claim. ....................
                                                                                                                                                                                               $______________________

34. Other contingent and unliquidated claims of every nature, including counterclaims of the debtor and rights
   to set off claims
        No
        Yes. Describe each claim. ....................
                                                                                                                                                                                               $_____________________




35. Any financial assets you did not already list

        No
        Yes. Give specific information............
                                                                                                                                                                                               $_____________________



36. Add the dollar value of all of your entries from Part 4, including any entries for pages you have attached
   for Part 4. Write that number here ....................................................................................................................................................     $_____________________




Part 5:          Describe Any Business-Related Property You Own or Have an Interest In. List any real estate in Part 1.

37. Do you own or have any legal or equitable interest in any business-related property?

        No. Go to Part 6.
        Yes. Go to line 38.
                                                                                                                                                                                             Current value of the
                                                                                                                                                                                             portion you own?
                                                                                                                                                                                             Do not deduct secured claims
                                                                                                                                                                                             or exemptions.

38. Accounts receivable or commissions you already earned

        No
        Yes. Describe .......
                                                                                                                                                                                             $_____________________

39. Office equipment, furnishings, and supplies
    Examples: Business-related computers, software, modems, printers, copiers, fax machines, rugs, telephones, desks, chairs, electronic devices

        No
        Yes. Describe .......                                                                                                                                                                $_____________________



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                    First Name            Middle Name                  Last Name




40. Machinery, fixtures, equipment, supplies you use in business, and tools of your trade

        No
        Yes. Describe .......
                                                                                                                                                                                             $_____________________


41. Inventory
        No
        Yes. Describe .......                                                                                                                                                                $_____________________


42. Interests in partnerships or joint ventures

        No
        Yes. Describe ....... Name of entity:                                                                                                                        % of ownership:
                                         ______________________________________________________________________                                                      ________%               $_____________________
                                         ______________________________________________________________________                                                      ________%               $_____________________
                                         ______________________________________________________________________                                                      ________%               $_____________________


43. Customer lists, mailing lists, or other compilations
        No
        Yes. Do your lists include personally identifiable information (as defined in 11 U.S.C. § 101(41A))?
                      No
                      Yes. Describe. .......
                                                                                                                                                                                             $____________________


44. Any business-related property you did not already list
        No
        Yes. Give specific
                              ______________________________________________________________________________________                                                                         $____________________
        information .........
                                         ______________________________________________________________________________________                                                              $____________________

                                         ______________________________________________________________________________________                                                              $____________________

                                         ______________________________________________________________________________________                                                              $____________________

                                         ______________________________________________________________________________________                                                              $____________________

                                         ______________________________________________________________________________________                                                               $____________________

45. Add the dollar value of all of your entries from Part 5, including any entries for pages you have attached
                                                                                                                                                                                             $____________________
   for Part 5. Write that number here ....................................................................................................................................................




Part 6:          Describe Any Farm- and Commercial Fishing-Related Property You Own or Have an Interest In.
                 If you own or have an interest in farmland, list it in Part 1.


46. Do you own or have any legal or equitable interest in any farm- or commercial fishing-related property?
        No. Go to Part 7.
        Yes. Go to line 47.
                                                                                                                                                                                             Current value of the
                                                                                                                                                                                             portion you own?
                                                                                                                                                                                             Do not deduct secured claims
                                                                                                                                                                                             or exemptions.
47. Farm animals
   Examples: Livestock, poultry, farm-raised fish
        No
        Yes ..........................

                                                                                                                                                                                               $___________________



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48. Crops—either growing or harvested

           No
           Yes. Give specific
           information. ............                                                                                                                                                                    $___________________

49. Farm and fishing equipment, implements, machinery, fixtures, and tools of trade
           No
           Yes ..........................
                                                                                                                                                                                                        $___________________

50. Farm and fishing supplies, chemicals, and feed

           No
           Yes ..........................
                                                                                                                                                                                                        $___________________

51. Any farm- and commercial fishing-related property you did not already list
           No
           Yes. Give specific
           information. ............                                                                                                                                                                    $___________________

52. Add the dollar value of all of your entries from Part 6, including any entries for pages you have attached
                                                                                                                                                                                                        $___________________
     for Part 6. Write that number here ....................................................................................................................................................



Part 7:            Describe All Property You Own or Have an Interest in That You Did Not List Above

53. Do you have other property of any kind you did not already list?
    Examples: Season tickets, country club membership

           No
                                                                                                                                                                                                         $________________
           Yes. Give specific
           information. ............                                                                                                                                                                     $________________
                                                                                                                                                                                                          $________________


54. Add the dollar value of all of your entries from Part 7. Write that number here .................................................................                                                     $________________




Part 8:            List the Totals of Each Part of this Form


55. Part 1: Total real estate, line 2 ..............................................................................................................................................................    $________________

56. Part 2: Total vehicles, line 5                                                                                  $________________

57. Part 3: Total personal and household items, line 15                                                             $________________

58. Part 4: Total financial assets, line 36                                                                         $________________

59. Part 5: Total business-related property, line 45                                                                $________________

60. Part 6: Total farm- and fishing-related property, line 52                                                       $________________

61. Part 7: Total other property not listed, line 54                                                            + $________________
62. Total personal property. Add lines 56 through 61. ....................                                          $________________ Copy personal property total                                     + $_________________


63. Total of all property on Schedule A/B. Add line 55 + line 62. .........................................................................................                                             $_________________



                                                                                           Schedule A/B: Property                                                                                                page 10
           Case 24-10100-amc                     Doc 13       Filed 02/13/24 Entered 02/13/24 22:27:45                                   Desc Main
                                                             Document     Page 11 of 33
 Fill in this information to identify your case:

 Debtor 1          __________________________________________________________________
                     First Name               Middle Name               Last Name

 Debtor 2            ________________________________________________________________
 (Spouse, if filing) First Name               Middle Name               Last Name


 United States Bankruptcy Court for the: __________ District of __________

 Case number         ___________________________________________                                                                                Check if this is an
  (If known)
                                                                                                                                                amended filing



                                  106C
Schedule C: The Property You Claim as Exempt
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information.
Using the property you listed on Schedule A/B: Property (Official Form 106A/B) as your source, list the property that you claim as exempt. If more
space is needed, fill out and attach to this page as many copies of Part 2: Additional Page as necessary. On the top of any additional pages, write
your name and case number (if known).

For each item of property you claim as exempt, you must specify the amount of the exemption you claim. One way of doing so is to state a
specific dollar amount as exempt. Alternatively, you may claim the full fair market value of the property being exempted up to the amount
of any applicable statutory limit. Some exemptions—such as those for health aids, rights to receive certain benefits, and tax-exempt
retirement funds—may be unlimited in dollar amount. However, if you claim an exemption of 100% of fair market value under a law that
limits the exemption to a particular dollar amount and the value of the property is determined to exceed that amount, your exemption
would be limited to the applicable statutory amount.


 Part 1:         Identify the Property You Claim as Exempt


 1. Which set of exemptions are you claiming? Check one only, even if your spouse is filing with you.
           You are claiming state and federal nonbankruptcy exemptions. 11 U.S.C. § 522(b)(3)
           You are claiming federal exemptions. 11 U.S.C. § 522(b)(2)


 2. For any property you list on Schedule A/B that you claim as exempt, fill in the information below.


       Brief description of the property and line on        Current value of the        Amount of the exemption you claim        Specific laws that allow exemption
       Schedule A/B that lists this property                portion you own
                                                            Copy the value from         Check only one box for each exemption.
                                                            Schedule A/B

      Brief                                                                                                                      ____________________________
      description:
                             _________________________      $________________              $ ____________                        ____________________________
                                                                                           100% of fair market value, up to      ____________________________
      Line from
                                                                                           any applicable statutory limit        ____________________________
      Schedule A/B: ______

      Brief                                                                                                                      ____________________________
                             _________________________      $________________              $ ____________
      description:                                                                                                               ____________________________
                                                                                           100% of fair market value, up to      ____________________________
      Line from     ______                                                                 any applicable statutory limit        ____________________________
      Schedule A/B:

      Brief                                                                                                                      ____________________________
      description:
                             _________________________      $________________              $ ____________                        ____________________________
      Line from                                                                            100% of fair market value, up to      ____________________________
      Schedule A/B: ______                                                                 any applicable statutory limit        ____________________________


     Are you claiming a homestead exemption of more than $                          ?
     (Subject to adjustment on 4/01/        and every 3 years after that for cases filed on or after the date of adjustment.)
           No
           Yes. Did you acquire the property covered by the exemption within 1,215 days before you filed this case?
                  No
                  Yes



Official Form 106C                                          Schedule C: The Property You Claim as Exempt                                             page 1 of __
           Case 24-10100-amc                 Doc 13  Filed 02/13/24 Entered 02/13/24 22:27:45 Desc Main
Debtor 1
                                                  Document
             _______________________________________________________
                                                                     Page 12 of Case
                                                                                 33 number (if known)_____________________________________
             First Name        Middle Name      Last Name




 Part 2:     Additional Page

      Brief description of the property and line        Current value of the   Amount of the exemption you claim       Specific laws that allow exemption
      on Schedule A/B that lists this property          portion you own
                                                        Copy the value from    Check only one box for each exemption
                                                        Schedule A/B

     Brief                                                                                                             ____________________________
     description:
                          _________________________     $________________         $ ____________                       ____________________________
                                                                                  100% of fair market value, up to     ____________________________
     Line from     ______
                                                                                  any applicable statutory limit       ____________________________
     Schedule A/B:
     Brief                                                                                                             ____________________________
     description:
                          _________________________     $________________         $ ____________                       ____________________________
                                                                                  100% of fair market value, up to     ____________________________
     Line from
     Schedule A/B: ______                                                         any applicable statutory limit       ____________________________


     Brief                                                                                                             ____________________________
     description:         _________________________     $________________         $ ____________                       ____________________________
     Line from                                                                    100% of fair market value, up to     ____________________________
                   ______                                                         any applicable statutory limit       ____________________________
     Schedule A/B:

     Brief                                                                                                             ____________________________
     description:
                          _________________________     $________________         $ ____________                       ____________________________
                                                                                  100% of fair market value, up to     ____________________________
     Line from     ______
                                                                                  any applicable statutory limit       ____________________________
     Schedule A/B:
     Brief                                                                                                             ____________________________
     description:
                          _________________________     $________________         $ ____________                       ____________________________
                                                                                  100% of fair market value, up to     ____________________________
     Line from
                   ______                                                         any applicable statutory limit       ____________________________
     Schedule A/B:

     Brief                                                                                                             ____________________________
     description:
                          _________________________     $________________         $ ____________                       ____________________________
                                                                                  100% of fair market value, up to     ____________________________
     Line from     ______                                                         any applicable statutory limit       ____________________________
     Schedule A/B:

     Brief                                                                                                             ____________________________
                          _________________________     $________________         $ ____________
     description:                                                                                                      ____________________________
                                                                                  100% of fair market value, up to     ____________________________
     Line from     ______
                                                                                  any applicable statutory limit       ____________________________
     Schedule A/B:
     Brief                                                                                                             ____________________________
     description:
                          _________________________     $________________         $ ____________                       ____________________________
                                                                                  100% of fair market value, up to     ____________________________
     Line from
                                                                                                                       ____________________________
     Schedule A/B: ______                                                         any applicable statutory limit


     Brief                                                                                                             ____________________________
     description:
                          _________________________     $________________         $ ____________                       ____________________________
     Line from                                                                    100% of fair market value, up to     ____________________________
                   ______                                                         any applicable statutory limit       ____________________________
     Schedule A/B:

     Brief                                                                                                             ____________________________
     description:
                          _________________________     $________________         $ ____________                       ____________________________
     Line from                                                                    100% of fair market value, up to     ____________________________
                   ______
                                                                                  any applicable statutory limit       ____________________________
     Schedule A/B:
     Brief                                                                                                             ____________________________
     description:
                          _________________________     $________________         $ ____________                       ____________________________
     Line from                                                                    100% of fair market value, up to     ____________________________
                                                                                                                       ____________________________
     Schedule A/B: ______                                                         any applicable statutory limit


     Brief                                                                                                             ____________________________
     description:
                          _________________________     $________________         $ ____________                       ____________________________
                                                                                  100% of fair market value, up to     ____________________________
     Line from     ______                                                         any applicable statutory limit       ____________________________
     Schedule A/B:


                                                      Schedule C: The Property You Claim as Exempt                                      page ___ of __
                Case 24-10100-amc                      Doc 13        Filed 02/13/24 Entered 02/13/24 22:27:45                                          Desc Main
                                                                    Document     Page 13 of 33
Fill in this information to identify your case:

 Debtor 1           __________________________________________________________________
                     First Name                   Middle Name                  Last Name

 Debtor 2            ________________________________________________________________
 (Spouse, if filing) First Name                   Middle Name                  Last Name


 United States Bankruptcy Court for the: __________ District of __________

 Case number         ___________________________________________
 (If known)                                                                                                                                                  Check if this is an
                                                                                                                                                             amended filing


          106D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                                                 12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, copy the Additional Page, fill it out, number the entries, and attach it to this form. On the top of any
additional pages, write your name and case number (if known).

1. Do any creditors have claims secured by your property?
             No. Check this box and submit this form to the court with your other schedules. You have nothing else to report on this form.
             Yes. Fill in all of the information below.


Part 1:          List All Secured Claims
                                                                                                                           Column A               Column B              Column C
2. List all secured claims. If a creditor has more than one secured claim, list the creditor separately                    Amount of claim        Value of collateral   Unsecured
      for each claim. If more than one creditor has a particular claim, list the other creditors in Part 2.                Do not deduct the      that supports this    portion
      As much as possible, list the claims in alphabetical order according to the creditor’s name.                         value of collateral.   claim                 If any

2.1
                                                           Describe the property that secures the claim:                   $_________________ $________________ $____________
      ______________________________________
      Creditor’s Name

      ______________________________________
      Number            Street

                                                           As of the date you file, the claim is: Check all that apply.
      ______________________________________
                                                                Contingent
      ______________________________________                    Unliquidated
      City                          State   ZIP Code            Disputed
  Who owes the debt? Check one.                            Nature of lien. Check all that apply.
        Debtor 1 only                                           An agreement you made (such as mortgage or secured
        Debtor 2 only                                           car loan)
        Debtor 1 and Debtor 2 only                              Statutory lien (such as tax lien, mechanic’s lien)
        At least one of the debtors and another                 Judgment lien from a lawsuit
                                                                Other (including a right to offset) ____________________
     Check if this claim relates to a
     community debt
  Date debt was incurred ____________                      Last 4 digits of account number ___ ___ ___ ___
2.2
                                                           Describe the property that secures the claim:                   $_________________ $________________ $____________
      ______________________________________
      Creditor’s Name

      ______________________________________
      Number            Street

                                                           As of the date you file, the claim is: Check all that apply.
      ______________________________________
                                                                Contingent
      ______________________________________                    Unliquidated
      City                          State   ZIP Code            Disputed
  Who owes the debt? Check one.                            Nature of lien. Check all that apply.
        Debtor 1 only                                           An agreement you made (such as mortgage or secured
        Debtor 2 only                                           car loan)
        Debtor 1 and Debtor 2 only                              Statutory lien (such as tax lien, mechanic’s lien)
        At least one of the debtors and another                 Judgment lien from a lawsuit
                                                                Other (including a right to offset) ____________________
        Check if this claim relates to a
        community debt
  Date debt was incurred ____________                      Last 4 digits of account number ___ ___ ___ ___
      Add the dollar value of your entries in Column A on this page. Write that number here:                               $________________


   fficial Form 106D                               Schedule D: Creditors Who Have Claims Secured by Property                                                   page 1 of ___
            Case 24-10100-amc                       Doc 13        Filed 02/13/24 Entered 02/13/24 22:27:45                                      Desc Main
                                                                 Document     Page 14 of 33
Debtor 1         _______________________________________________________                                Case number (if known)_____________________________________
                 First Name     Middle Name          Last Name




             Additional Page                                                                                         Column A               Column B              Column C
Part 1:                                                                                                              Amount of claim        Value of collateral   Unsecured
             After listing any entries on this page, number them beginning with 2.3, followed                                               that supports this    portion
                                                                                                                     Do not deduct the
             by 2.4, and so forth.                                                                                   value of collateral.   claim                 If any

   ______________________________________            Describe the property that secures the claim:                   $_________________ $________________ $____________
   Creditor’s Name

   ______________________________________
   Number            Street

   ______________________________________            As of the date you file, the claim is: Check all that apply.

   ______________________________________                 Contingent
   City                         State    ZIP Code         Unliquidated
                                                          Disputed
 Who owes the debt? Check one.                       Nature of lien. Check all that apply.
      Debtor 1 only                                       An agreement you made (such as mortgage or secured
      Debtor 2 only                                       car loan)
      Debtor 1 and Debtor 2 only                          Statutory lien (such as tax lien, mechanic’s lien)
      At least one of the debtors and another             Judgment lien from a lawsuit
                                                          Other (including a right to offset) ____________________
      Check if this claim relates to a
      community debt

 Date debt was incurred ____________                 Last 4 digits of account number ___ ___ ___ ___


   ______________________________________            Describe the property that secures the claim:                   $_________________ $________________ $____________
   Creditor’s Name

   ______________________________________
   Number            Street

                                                     As of the date you file, the claim is: Check all that apply.
   ______________________________________
                                                          Contingent
   ______________________________________                 Unliquidated
   City                         State    ZIP Code
                                                          Disputed
 Who owes the debt? Check one.
                                                     Nature of lien. Check all that apply.
      Debtor 1 only
                                                          An agreement you made (such as mortgage or secured
      Debtor 2 only                                       car loan)
      Debtor 1 and Debtor 2 only                          Statutory lien (such as tax lien, mechanic’s lien)
      At least one of the debtors and another             Judgment lien from a lawsuit
                                                          Other (including a right to offset) ____________________
      Check if this claim relates to a
      community debt

 Date debt was incurred ____________                 Last 4 digits of account number ___ ___ ___ ___


   ______________________________________            Describe the property that secures the claim:                   $_________________ $________________ $____________
   Creditor’s Name

   ______________________________________
   Number            Street

   ______________________________________            As of the date you file, the claim is: Check all that apply.

   ______________________________________                 Contingent
   City                         State    ZIP Code         Unliquidated
                                                          Disputed
 Who owes the debt? Check one.                       Nature of lien. Check all that apply.
      Debtor 1 only                                       An agreement you made (such as mortgage or secured
      Debtor 2 only                                       car loan)
      Debtor 1 and Debtor 2 only                          Statutory lien (such as tax lien, mechanic’s lien)
      At least one of the debtors and another             Judgment lien from a lawsuit
                                                          Other (including a right to offset) ____________________
      Check if this claim relates to a
      community debt
 Date debt was incurred ____________                 Last 4 digits of account number ___ ___ ___ ___

           Add the dollar value of your entries in Column A on this page. Write that number here: $_________________
           If this is the last page of your form, add the dollar value totals from all pages.
           Write that number here:                                                                                   $_________________

                                        Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                     page ___ of ___
           Case 24-10100-amc                 Doc 13          Filed 02/13/24 Entered 02/13/24 22:27:45                               Desc Main
                                                            Document     Page 15 of 33
Debtor 1      _______________________________________________________                           Case number (if known)_____________________________________
              First Name     Middle Name        Last Name


  Part 2:      List Others to Be Notified for a Debt That You Already Listed

  Use this page only if you have others to be notified about your bankruptcy for a debt that you already listed in Part 1. For example, if a collection
  agency is trying to collect from you for a debt you owe to someone else, list the creditor in Part 1, and then list the collection agency here. Similarly, if
  you have more than one creditor for any of the debts that you listed in Part 1, list the additional creditors here. If you do not have additional persons to
  be notified for any debts in Part 1, do not fill out or submit this page.

                                                                                           On which line in Part 1 did you enter the creditor? _____
      _____________________________________________________________________
      Name                                                                                 Last 4 digits of account number ___ ___ ___ ___

      _____________________________________________________________________
      Number     Street

      _____________________________________________________________________

      _____________________________________________________________________
      City                                    State         ZIP Code

                                                                                           On which line in Part 1 did you enter the creditor? _____
      _____________________________________________________________________
      Name                                                                                 Last 4 digits of account number ___ ___ ___ ___

      _____________________________________________________________________
      Number     Street

      _____________________________________________________________________

      _____________________________________________________________________
      City                                    State         ZIP Code

                                                                                           On which line in Part 1 did you enter the creditor? _____
      _____________________________________________________________________
      Name                                                                                 Last 4 digits of account number ___ ___ ___ ___

      _____________________________________________________________________
      Number     Street

      _____________________________________________________________________

      _____________________________________________________________________
      City                                    State         ZIP Code

                                                                                           On which line in Part 1 did you enter the creditor? _____
      _____________________________________________________________________
      Name                                                                                 Last 4 digits of account number ___ ___ ___ ___

      _____________________________________________________________________
      Number     Street

      _____________________________________________________________________

      _____________________________________________________________________
      City                                    State         ZIP Code

                                                                                           On which line in Part 1 did you enter the creditor? _____
      _____________________________________________________________________
      Name                                                                                 Last 4 digits of account number ___ ___ ___ ___

      _____________________________________________________________________
      Number     Street

      _____________________________________________________________________

      _____________________________________________________________________
      City                                    State         ZIP Code

                                                                                           On which line in Part 1 did you enter the creditor? _____
      _____________________________________________________________________
      Name                                                                                 Last 4 digits of account number ___ ___ ___ ___

      _____________________________________________________________________
      Number     Street

      _____________________________________________________________________

      _____________________________________________________________________
      City                                    State         ZIP Code



                                           Part 2 of Schedule D: Creditors Who Have Claims Secured by Property                               page ___ of ___
                  Case 24-10100-amc                         Doc 13    Filed 02/13/24 Entered 02/13/24 22:27:45                                       Desc Main
  Fill in this information to identify your case:                    Document     Page 16 of 33

      Debtor 1          __________________________________________________________________
                          First Name                   Middle Name              Last Name

      Debtor 2            ________________________________________________________________
      (Spouse, if filing) First Name                   Middle Name              Last Name


      United States Bankruptcy Court for the: __________ District of __________
                                                                                                                                                           Check if this is an
      Case number         ___________________________________________
      (If known)                                                                                                                                           amended filing


           106E/F
 Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                                   12/15

 Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY claims and Part 2 for creditors with NONPRIORITY claims.
 List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule
 A/B: Property (Official Form 106A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G). Do not include any
 creditors with partially secured claims that are listed in Schedule D: Creditors Who Have Claims Secured by Property. If more space is
 needed, copy the Part you need, fill it out, number the entries in the boxes on the left. Attach the Continuation Page to this page. On the top of
 any additional pages, write your name and case number (if known).

 Part 1:               List All of Your PRIORITY Unsecured Claims

 1. Do any creditors have priority unsecured claims against you?
              No. Go to Part 2.
              Yes.
 2.     List all of your priority unsecured claims. If a creditor has more than one priority unsecured claim, list the creditor separately for each claim. For
        each claim listed, identify what type of claim it is. If a claim has both priority and nonpriority amounts, list that claim here and show both priority and
        nonpriority amounts. As much as possible, list the claims in alphabetical order according to the creditor’s name. If you have more than two priority
        unsecured claims, fill out the Continuation Page of Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.
        (For an explanation of each type of claim, see the instructions for this form in the instruction booklet.)
                                                                                                                                       Total claim    Priority     Nonpriority
                                                                                                                                                      amount       amount
2.1
           ____________________________________________                Last 4 digits of account number ___ ___ ___ ___            $_____________ $___________ $____________
           Priority Creditor’s Name

           ____________________________________________                When was the debt incurred?          ____________
           Number            Street
           ____________________________________________
                                                                       As of the date you file, the claim is: Check all that apply.
           ____________________________________________                    Contingent
           City                                State    ZIP Code
                                                                           Unliquidated
           Who incurred the debt? Check one.
                                                                           Disputed
                  Debtor 1 only
                  Debtor 2 only                                        Type of PRIORITY unsecured claim:
                  Debtor 1 and Debtor 2 only                               Domestic support obligations
                  At least one of the debtors and another
                                                                           Taxes and certain other debts you owe the government
                  Check if this claim is for a community debt              Claims for death or personal injury while you were
           Is the claim subject to offset?                                 intoxicated
                  No                                                       Other. Specify _________________________________
                  Yes
2.2
           ____________________________________________                Last 4 digits of account number ___ ___ ___ ___                $_____________ $___________ $____________
           Priority Creditor’s Name
                                                                       When was the debt incurred?          ____________
           ____________________________________________
           Number            Street
           ____________________________________________                As of the date you file, the claim is: Check all that apply.
                                                                           Contingent
           ____________________________________________
           City                                State    ZIP Code           Unliquidated
           Who incurred the debt? Check one.                               Disputed
                  Debtor 1 only
                                                                       Type of PRIORITY unsecured claim:
                  Debtor 2 only
                                                                           Domestic support obligations
                  Debtor 1 and Debtor 2 only
                                                                           Taxes and certain other debts you owe the government
                  At least one of the debtors and another
                                                                           Claims for death or personal injury while you were
                  Check if this claim is for a community debt              intoxicated
           Is the claim subject to offset?                                 Other. Specify _________________________________
                  No
                  Yes


 Official Form 106E/F                                           Schedule E/F: Creditors Who Have Unsecured Claims                                            page 1 of ___
            Case 24-10100-amc                         Doc 13        Filed 02/13/24 Entered 02/13/24 22:27:45 Desc Main
Debtor 1          _______________________________________________________
                  First Name     Middle Name           Last Name   Document     Page 17 of Case
                                                                                            33 number (if known)_____________________________________
Part 1:           Your PRIORITY Unsecured Claims                     Continuation Page

After listing any entries on this page, number them beginning with 2.3, followed by 2.4, and so forth.                             Total claim   Priority     Nonpriority
                                                                                                                                                 amount       amount


     ____________________________________________                   Last 4 digits of account number ___ ___ ___ ___                $____________ $__________ $____________
     Priority Creditor’s Name

     ____________________________________________                   When was the debt incurred?          ____________
     Number            Street

     ____________________________________________                   As of the date you file, the claim is: Check all that apply.

                                                                        Contingent
     ____________________________________________
     City                                State   ZIP Code               Unliquidated
                                                                        Disputed
     Who incurred the debt? Check one.
            Debtor 1 only                                           Type of PRIORITY unsecured claim:
            Debtor 2 only
                                                                        Domestic support obligations
            Debtor 1 and Debtor 2 only
                                                                        Taxes and certain other debts you owe the government
            At least one of the debtors and another
                                                                        Claims for death or personal injury while you were
                                                                        intoxicated
            Check if this claim is for a community debt
                                                                        Other. Specify _________________________________

     Is the claim subject to offset?
            No
            Yes


     ____________________________________________                   Last 4 digits of account number ___ ___ ___ ___                $____________ $__________ $____________
     Priority Creditor’s Name

     ____________________________________________                   When was the debt incurred?          ____________
     Number            Street

     ____________________________________________                   As of the date you file, the claim is: Check all that apply.

                                                                        Contingent
     ____________________________________________
     City                                State   ZIP Code               Unliquidated
                                                                        Disputed
     Who incurred the debt? Check one.
            Debtor 1 only                                           Type of PRIORITY unsecured claim:
            Debtor 2 only
                                                                        Domestic support obligations
            Debtor 1 and Debtor 2 only
                                                                        Taxes and certain other debts you owe the government
            At least one of the debtors and another
                                                                        Claims for death or personal injury while you were
                                                                        intoxicated
            Check if this claim is for a community debt
                                                                        Other. Specify _________________________________

     Is the claim subject to offset?
            No
            Yes


     ____________________________________________                   Last 4 digits of account number ___ ___ ___ ___                $____________ $__________ $____________
     Priority Creditor’s Name

     ____________________________________________                   When was the debt incurred?          ____________
     Number            Street

     ____________________________________________                   As of the date you file, the claim is: Check all that apply.

                                                                        Contingent
     ____________________________________________
     City                                State   ZIP Code               Unliquidated
                                                                        Disputed
     Who incurred the debt? Check one.
            Debtor 1 only                                           Type of PRIORITY unsecured claim:
            Debtor 2 only
                                                                        Domestic support obligations
            Debtor 1 and Debtor 2 only
                                                                        Taxes and certain other debts you owe the government
            At least one of the debtors and another
                                                                        Claims for death or personal injury while you were
                                                                        intoxicated
            Check if this claim is for a community debt
                                                                        Other. Specify _________________________________

     Is the claim subject to offset?
            No
            Yes


                                                        Schedule E/F: Creditors Who Have Unsecured Claims                                                    page __ of ___
              Case 24-10100-amc                         Doc 13          Filed 02/13/24 Entered 02/13/24 22:27:45 Desc Main
 Debtor 1           _______________________________________________________
                    First Name       Middle Name           Last Name   Document     Page 18 of Case
                                                                                                33 number (if known)_____________________________________
 Part 2:           List All of Your NONPRIORITY Unsecured Claims

 3. Do any creditors have nonpriority unsecured claims against you?
            No. You have nothing to report in this part. Submit this form to the court with your other schedules.
            Yes

 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
      nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
      included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
      claims fill out the Continuation Page of Part 2.

                                                                                                                                                                 Total claim
4.1
       _____________________________________________________________                   Last 4 digits of account number ___ ___ ___ ___
       Nonpriority Creditor’s Name                                                                                                                             $__________________
                                                                                       When was the debt incurred?           ____________
       _____________________________________________________________
       Number            Street

       _____________________________________________________________
       City                                             State          ZIP Code        As of the date you file, the claim is: Check all that apply.

                                                                                           Contingent
       Who incurred the debt? Check one.                                                   Unliquidated
              Debtor 1 only                                                                Disputed
              Debtor 2 only
              Debtor 1 and Debtor 2 only                                               Type of NONPRIORITY unsecured claim:
              At least one of the debtors and another                                      Student loans

              Check if this claim is for a community debt                                  Obligations arising out of a separation agreement or divorce
                                                                                           that you did not report as priority claims
       Is the claim subject to offset?                                                     Debts to pension or profit-sharing plans, and other similar debts
              No                                                                           Other. Specify ______________________________________
              Yes

4.2                                                                                    Last 4 digits of account number ___ ___ ___ ___                         $__________________
       _____________________________________________________________
       Nonpriority Creditor’s Name                                                     When was the debt incurred?           ____________

       _____________________________________________________________
       Number            Street
                                                                                       As of the date you file, the claim is: Check all that apply.
       _____________________________________________________________
       City                                             State          ZIP Code
                                                                                           Contingent
       Who incurred the debt? Check one.                                                   Unliquidated
                                                                                           Disputed
              Debtor 1 only
              Debtor 2 only
                                                                                       Type of NONPRIORITY unsecured claim:
              Debtor 1 and Debtor 2 only
              At least one of the debtors and another                                      Student loans
                                                                                           Obligations arising out of a separation agreement or divorce
              Check if this claim is for a community debt                                  that you did not report as priority claims
       Is the claim subject to offset?                                                     Debts to pension or profit-sharing plans, and other similar debts

              No                                                                           Other. Specify ______________________________________

              Yes

4.3
       _____________________________________________________________                   Last 4 digits of account number ___ ___ ___ ___
       Nonpriority Creditor’s Name                                                                                                                             $_________________
                                                                                       When was the debt incurred?           ____________
       _____________________________________________________________
       Number            Street

       _____________________________________________________________                   As of the date you file, the claim is: Check all that apply.
       City                                             State          ZIP Code
                                                                                           Contingent
       Who incurred the debt? Check one.
                                                                                           Unliquidated
              Debtor 1 only
                                                                                           Disputed
              Debtor 2 only
              Debtor 1 and Debtor 2 only
                                                                                       Type of NONPRIORITY unsecured claim:
              At least one of the debtors and another
                                                                                           Student loans
              Check if this claim is for a community debt                                  Obligations arising out of a separation agreement or divorce
                                                                                           that you did not report as priority claims
       Is the claim subject to offset?
                                                                                           Debts to pension or profit-sharing plans, and other similar debts
              No
                                                                                           Other. Specify ______________________________________
              Yes




                                                            Schedule E/F: Creditors Who Have Unsecured Claims                                                         page __ of ___
            Case 24-10100-amc                         Doc 13          Filed 02/13/24 Entered 02/13/24 22:27:45 Desc Main
Debtor 1          _______________________________________________________
                  First Name       Middle Name           Last Name   Document     Page 19 of Case
                                                                                              33 number (if known)_____________________________________
Part 2:          Your NONPRIORITY Unsecured Claims                          Continuation Page


After listing any entries on this page, number them beginning with 4.4, followed by 4.5, and so forth.                                                         Total claim



                                                                                       Last 4 digits of account number ___ ___ ___ ___
     _____________________________________________________________                                                                                             $____________
     Nonpriority Creditor’s Name
                                                                                       When was the debt incurred?           ____________
     _____________________________________________________________
     Number            Street
                                                                                       As of the date you file, the claim is: Check all that apply.
     _____________________________________________________________
     City                                             State          ZIP Code              Contingent
                                                                                           Unliquidated
     Who incurred the debt? Check one.                                                     Disputed
            Debtor 1 only
            Debtor 2 only                                                              Type of NONPRIORITY unsecured claim:
            Debtor 1 and Debtor 2 only
                                                                                           Student loans
            At least one of the debtors and another
                                                                                           Obligations arising out of a separation agreement or divorce that
                                                                                           you did not report as priority claims
            Check if this claim is for a community debt
                                                                                           Debts to pension or profit-sharing plans, and other similar debts
     Is the claim subject to offset?                                                       Other. Specify________________________________
            No
            Yes




                                                                                       Last 4 digits of account number ___ ___ ___ ___                         $____________
     _____________________________________________________________
     Nonpriority Creditor’s Name
                                                                                       When was the debt incurred?           ____________
     _____________________________________________________________
     Number            Street
                                                                                       As of the date you file, the claim is: Check all that apply.
     _____________________________________________________________
     City                                             State          ZIP Code              Contingent
                                                                                           Unliquidated
     Who incurred the debt? Check one.                                                     Disputed
            Debtor 1 only
            Debtor 2 only                                                              Type of NONPRIORITY unsecured claim:
            Debtor 1 and Debtor 2 only
                                                                                           Student loans
            At least one of the debtors and another
                                                                                           Obligations arising out of a separation agreement or divorce that
                                                                                           you did not report as priority claims
            Check if this claim is for a community debt
                                                                                           Debts to pension or profit-sharing plans, and other similar debts
     Is the claim subject to offset?                                                       Other. Specify________________________________
            No
            Yes


                                                                                                                                                               $____________
                                                                                       Last 4 digits of account number ___ ___ ___ ___
     _____________________________________________________________
     Nonpriority Creditor’s Name
                                                                                       When was the debt incurred?           ____________
     _____________________________________________________________
     Number            Street
                                                                                       As of the date you file, the claim is: Check all that apply.
     _____________________________________________________________
     City                                             State          ZIP Code              Contingent
                                                                                           Unliquidated
     Who incurred the debt? Check one.                                                     Disputed
            Debtor 1 only
            Debtor 2 only                                                              Type of NONPRIORITY unsecured claim:
            Debtor 1 and Debtor 2 only
                                                                                           Student loans
            At least one of the debtors and another
                                                                                           Obligations arising out of a separation agreement or divorce that
                                                                                           you did not report as priority claims
            Check if this claim is for a community debt
                                                                                           Debts to pension or profit-sharing plans, and other similar debts
     Is the claim subject to offset?                                                       Other. Specify________________________________
            No
            Yes




                                                          Schedule E/F: Creditors Who Have Unsecured Claims                                                    page __ of ___
            Case 24-10100-amc                Doc 13             Filed 02/13/24 Entered 02/13/24 22:27:45 Desc Main
Debtor 1       _______________________________________________________
               First Name    Middle Name           Last Name   Document     Page 20 of Case
                                                                                        33 number (if known)_____________________________________
Part 3:       List Others to Be Notified About a Debt That You Already Listed

5. Use this page only if you have others to be notified about your bankruptcy, for a debt that you already listed in Parts 1 or 2. For
    example, if a collection agency is trying to collect from you for a debt you owe to someone else, list the original creditor in Parts 1 or
    2, then list the collection agency here. Similarly, if you have more than one creditor for any of the debts that you listed in Parts 1 or 2, list the
    additional creditors here. If you do not have additional persons to be notified for any debts in Parts 1 or 2, do not fill out or submit this page.

     _____________________________________________________                 On which entry in Part 1 or Part 2 did you list the original creditor?
     Name

                                                                           Line _____ of (Check one):      Part 1: Creditors with Priority Unsecured Claims
     _____________________________________________________
     Number         Street                                                                                 Part 2: Creditors with Nonpriority Unsecured Claims
     _____________________________________________________
                                                                           Last 4 digits of account number ___ ___ ___ ___
     _____________________________________________________
     City                                  State               ZIP Code


     _____________________________________________________                 On which entry in Part 1 or Part 2 did you list the original creditor?
     Name

     _____________________________________________________
                                                                           Line _____ of (Check one):      Part 1: Creditors with Priority Unsecured Claims
     Number         Street
                                                                                                           Part 2: Creditors with Nonpriority Unsecured
     _____________________________________________________                 Claims

     _____________________________________________________                 Last 4 digits of account number ___ ___ ___ ___
     City                                  State               ZIP Code


     _____________________________________________________                 On which entry in Part 1 or Part 2 did you list the original creditor?
     Name

                                                                           Line _____ of (Check one):      Part 1: Creditors with Priority Unsecured Claims
     _____________________________________________________
     Number         Street                                                                                 Part 2: Creditors with Nonpriority Unsecured
     _____________________________________________________
                                                                           Claims

     _____________________________________________________                 Last 4 digits of account number ___ ___ ___ ___
     City                                  State               ZIP Code


     _____________________________________________________                 On which entry in Part 1 or Part 2 did you list the original creditor?
     Name

                                                                           Line _____ of (Check one):      Part 1: Creditors with Priority Unsecured Claims
     _____________________________________________________
     Number         Street                                                                                 Part 2: Creditors with Nonpriority Unsecured
     _____________________________________________________                 Claims

     _____________________________________________________                 Last 4 digits of account number ___ ___ ___ ___
     City                                  State               ZIP Code


     _____________________________________________________                 On which entry in Part 1 or Part 2 did you list the original creditor?
     Name

                                                                           Line _____ of (Check one):      Part 1: Creditors with Priority Unsecured Claims
     _____________________________________________________
     Number         Street                                                                                 Part 2: Creditors with Nonpriority Unsecured
     _____________________________________________________
                                                                           Claims

     _____________________________________________________                 Last 4 digits of account number ___ ___ ___ ___
     City                                  State               ZIP Code


     _____________________________________________________                 On which entry in Part 1 or Part 2 did you list the original creditor?
     Name

                                                                           Line _____ of (Check one):      Part 1: Creditors with Priority Unsecured Claims
     _____________________________________________________
     Number         Street                                                                                 Part 2: Creditors with Nonpriority Unsecured
     _____________________________________________________
                                                                           Claims

     _____________________________________________________                 Last 4 digits of account number ___ ___ ___ ___
     City                                  State               ZIP Code


     _____________________________________________________                 On which entry in Part 1 or Part 2 did you list the original creditor?
     Name

     _____________________________________________________                 Line _____ of (Check one):      Part 1: Creditors with Priority Unsecured Claims
     Number         Street
                                                                                                           Part 2: Creditors with Nonpriority Unsecured
     _____________________________________________________                 Claims

     _____________________________________________________
     City                                  State               ZIP Code
                                                                           Last 4 digits of account number ___ ___ ___ ___


                                                    Schedule E/F: Creditors Who Have Unsecured Claims                                               page __ of ___
           Case 24-10100-amc                  Doc 13          Filed 02/13/24 Entered 02/13/24 22:27:45 Desc Main
Debtor 1       _______________________________________________________
               First Name    Middle Name         Last Name   Document     Page 21 of Case
                                                                                      33 number (if known)_____________________________________
Part 4:     Add the Amounts for Each Type of Unsecured Claim


6. Total the amounts of certain types of unsecured claims. This information is for statistical reporting purposes only. 28 U.S.C. § 159.
    Add the amounts for each type of unsecured claim.




                                                                                         Total claim


                6a. Domestic support obligations                                 6a.
Total claims                                                                             $_________________________
from Part 1
                6b. Taxes and certain other debts you owe the
                    government                                                   6b.     $_________________________

                6c. Claims for death or personal injury while you were
                    intoxicated                                                  6c.
                                                                                         $_________________________

                6d. Other. Add all other priority unsecured claims.
                    Write that amount here.                                      6d.
                                                                                       + $_________________________

                6e. Total. Add lines 6a through 6d.                             6e.
                                                                                         $_________________________



                                                                                         Total claim

                6f. Student loans                                                6f.
Total claims                                                                              $_________________________
from Part 2
                6g. Obligations arising out of a separation agreement
                    or divorce that you did not report as priority
                    claims                                                       6g.      $_________________________

                6h. Debts to pension or profit-sharing plans, and other
                    similar debts                                                6h.     $_________________________

                6i. Other. Add all other nonpriority unsecured claims.
                    Write that amount here.                                      6i.   + $_________________________

                6j. Total. Add lines 6f through 6i.                              6j.
                                                                                          $_________________________




                                                      Schedule E/F: Creditors Who Have Unsecured Claims                               page __ of ___
              Case 24-10100-amc
B 6F (Official Form 6F) (12/07)
                                                       Doc 13        Filed 02/13/24 Entered 02/13/24 22:27:45                                                  Desc Main
                                                                    Document     Page 22 of 33
In re __________________________________________,                                                           Case No. _________________________________
                        Debtor                                                                                                   (if known)

         SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
    State the name, mailing address, including zip code, and last four digits of any account number, of all entities holding unsecured claims without priority against
the debtor or the property of the debtor, as of the date of filing of the petition. The complete account number of any account the debtor has with the creditor is
useful to the trustee and the creditor and may be provided if the debtor chooses to do so. If a minor child is a creditor, state the child's initials and the name and
address of the child's parent or guardian, such as "A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See, 11 U.S.C. §112 and Fed.
R. Bankr. P. 1007(m). Do not include claims listed in Schedules D and E. If all creditors will not fit on this page, use the continuation sheet provided.

   If any entity other than a spouse in a joint case may be jointly liable on a claim, place an “X” in the column labeled “Codebtor,” include the entity on the
appropriate schedule of creditors, and complete Schedule H - Codebtors. If a joint petition is filed, state whether the husband, wife, both of them, or the marital
community may be liable on each claim by placing an “H,” “W,” “J,” or “C” in the column labeled “Husband, Wife, Joint, or Community.”

     If the claim is contingent, place an “X” in the column labeled “Contingent.” If the claim is unliquidated, place an “X” in the column labeled “Unliquidated.”
If the claim is disputed, place an “X” in the column labeled “Disputed.” (You may need to place an “X” in more than one of these three columns.)

    Report the total of all claims listed on this schedule in the box labeled “Total” on the last sheet of the completed schedule. Report this total also on the
Summary of Schedules and, if the debtor is an individual with primarily consumer debts, report this total also on the Statistical Summary of Certain Liabilities
and Related Data..

        Check this box if debtor has no creditors holding unsecured claims to report on this Schedule F.
                                                        HUSBAND, WIFE,

                                                         COMMUNITY




      CREDITOR’S NAME,                                                      DATE CLAIM WAS                                                                   AMOUNT OF




                                                                                                                               UNLIQUIDATED
                                                          JOINT, OR




                                                                                                                  CONTINGENT
      MAILING ADDRESS                                                        INCURRED AND                                                                      CLAIM
                                            CODEBTOR




                                                                                                                                              DISPUTED
     INCLUDING ZIP CODE,                                                  CONSIDERATION FOR
    AND ACCOUNT NUMBER                                                           CLAIM.
          (See instructions above.)                                      IF CLAIM IS SUBJECT TO
                                                                            SETOFF, SO STATE.


  ACCOUNT NO.




  ACCOUNT NO.




  ACCOUNT NO.




  ACCOUNT NO.




                                                                                                                                     Subtotal            $

  _____continuation sheets attached                                                                                            Total                     $
                                                                                 (Use only on last page of the completed Schedule F.)
                                                             (Report also on Summary of Schedules and, if applicable, on the Statistical
                                                                                   Summary of Certain Liabilities and Related Data.)
              Case 24-10100-amc
B 6F (Official Form 6F) (12/07) - Cont.
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                                                                     Document     Page 23 of 33

In re __________________________________________,                                                             Case No. _________________________________
                      Debtor                                                                                                    (if known)

         SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                               (Continuation Sheet)




                                                         HUSBAND, WIFE,

                                                          COMMUNITY
      CREDITOR’S NAME,                                                       DATE CLAIM WAS                                                                   AMOUNT OF




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT
                                             CODEBTOR


                                                           JOINT, OR




                                                                                                                                               DISPUTED
      MAILING ADDRESS                                                         INCURRED AND                                                                      CLAIM
     INCLUDING ZIP CODE,                                                   CONSIDERATION FOR
    AND ACCOUNT NUMBER                                                            CLAIM.
          (See instructions above.)                                       IF CLAIM IS SUBJECT TO
                                                                             SETOFF, SO STATE.


  ACCOUNT NO.




  ACCOUNT NO.




  ACCOUNT NO.




  ACCOUNT NO.




  ACCOUNT NO.




  Sheet no.        of        continuation sheets attached                                                                              Subtotal           $
  to Schedule of Creditors Holding Unsecured
  Nonpriority Claims

                                                                                                                                Total                     $
                                                                                  (Use only on last page of the completed Schedule F.)
                                                               (Report also on Summary of Schedules and, if applicable on the Statistical
                                                                                    Summary of Certain Liabilities and Related Data.)
Case 24-10100-amc   Doc 13    Filed 02/13/24 Entered 02/13/24 22:27:45   Desc Main
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Case 24-10100-amc   Doc 13    Filed 02/13/24 Entered 02/13/24 22:27:45   Desc Main
                             Document     Page 25 of 33
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                             Document     Page 26 of 33
Case 24-10100-amc   Doc 13    Filed 02/13/24 Entered 02/13/24 22:27:45   Desc Main
                             Document     Page 27 of 33
            Case 24-10100-amc                  Doc 13      Filed 02/13/24 Entered 02/13/24 22:27:45                               Desc Main
                                                          Document     Page 28 of 33
 Fill in this information to identify your case:


 Debtor 1           ____________________________________________________________________
                     First Name             Middle Name            Last Name

 Debtor 2            ____________________________________________________________________
 (Spouse, if filing) First Name             Middle Name            Last Name


 United States Bankruptcy Court for the: __________ District of ___________

 Case number         ___________________________________________                                     Check if this is:
  (If known)
                                                                                                        An amended filing
                                                                                                        A supplement showing postpetition chapter 13
                                                                                                        income as of the following date:
                                                                                                        ________________
                           106I                                                                         MM / DD / YYYY

Schedule I: Your Income                                                                                                                           12/15

Be as complete and accurate as possible. If two married people are filing together (Debtor 1 and Debtor 2), both are equally responsible for
supplying correct information. If you are married and not filing jointly, and your spouse is living with you, include information about your spouse.
If you are separated and your spouse is not filing with you, do not include information about your spouse. If more space is needed, attach a
separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.


 Part 1:           Describe Employment


1. Fill in your employment
    information.                                                         Debtor 1                                   Debtor 2 or non-filing spouse

    If you have more than one job,
    attach a separate page with
    information about additional         Employment status                Employed                                         Employed
    employers.                                                            Not employed                                     Not employed
    Include part-time, seasonal, or
    self-employed work.
                                         Occupation                 __________________________________            __________________________________
    Occupation may include student
    or homemaker, if it applies.
                                         Employer’s name            __________________________________             __________________________________


                                         Employer’s address        _______________________________________       ________________________________________
                                                                    Number Street                                  Number   Street

                                                                   _______________________________________       ________________________________________

                                                                   _______________________________________       ________________________________________

                                                                   _______________________________________       ________________________________________
                                                                    City            State  ZIP Code                City                State ZIP Code

                                         How long employed there?         _______                                   _______

 Part 2:           Give Details About Monthly Income

    Estimate monthly income as of the date you file this form. If you have nothing to report for any line, write $0 in the space. Include your non-filing
    spouse unless you are separated.
    If you or your non-filing spouse have more than one employer, combine the information for all employers for that person on the lines
    below. If you need more space, attach a separate sheet to this form.

                                                                                                For Debtor 1       For Debtor 2 or
                                                                                                                   non-filing spouse
 2. List monthly gross wages, salary, and commissions (before all payroll
     deductions). If not paid monthly, calculate what the monthly wage would be.         2.
                                                                                               $___________              $____________

 3. Estimate and list monthly overtime pay.                                              3.   + $___________      + $____________

 4. Calculate gross income. Add line 2 + line 3.                                         4.    $__________               $____________




Official Form 106I                                              Schedule I: Your Income                                                       page 1
           Case 24-10100-amc                                 Doc 13           Filed 02/13/24 Entered 02/13/24 22:27:45                                         Desc Main
                                                                             Document     Page 29 of 33
Debtor 1         _______________________________________________________                                                     Case number (if known)_____________________________________
                  First Name          Middle Name                Last Name



                                                                                                                            For Debtor 1        For Debtor 2 or
                                                                                                                                                non-filing spouse

   Copy line 4 here ...............................................................................................   4.    $___________           $_____________

5. List all payroll deductions:

     5a. Tax, Medicare, and Social Security deductions                                                                5a.   $____________          $_____________
     5b. Mandatory contributions for retirement plans                                                                 5b.   $____________          $_____________
     5c. Voluntary contributions for retirement plans                                                                 5c.   $____________          $_____________
     5d. Required repayments of retirement fund loans                                                                 5d.   $____________          $_____________
     5e. Insurance                                                                                                    5e.   $____________          $_____________
     5f. Domestic support obligations                                                                                 5f.   $____________          $_____________

     5g. Union dues                                                                                                   5g.   $____________          $_____________

     5h. Other deductions. Specify: __________________________________                                                5h. + $____________       + $_____________
 6. Add the payroll deductions. Add lines 5a + 5b + 5c + 5d + 5e +5f + 5g + 5h.                                       6.    $____________          $_____________

 7. Calculate total monthly take-home pay. Subtract line 6 from line 4.                                               7.    $____________          $_____________


 8. List all other income regularly received:

     8a. Net income from rental property and from operating a business,
         profession, or farm
           Attach a statement for each property and business showing gross
           receipts, ordinary and necessary business expenses, and the total
                                                                                                                            $____________          $_____________
           monthly net income.                                                                                        8a.
     8b. Interest and dividends                                                                                       8b.   $____________          $_____________
     8c. Family support payments that you, a non-filing spouse, or a dependent
         regularly receive
           Include alimony, spousal support, child support, maintenance, divorce
                                                                                                                            $____________          $_____________
           settlement, and property settlement.                                                                       8c.
     8d. Unemployment compensation                                                                                    8d.   $____________          $_____________
     8e. Social Security                                                                                              8e.   $____________          $_____________
     8f. Other government assistance that you regularly receive
         Include cash assistance and the value (if known) of any non-cash assistance
         that you receive, such as food stamps (benefits under the Supplemental
         Nutrition Assistance Program) or housing subsidies.
         Specify: ___________________________________________________ 8f.                                                   $____________          $_____________

     8g. Pension or retirement income                                                                                 8g.   $____________          $_____________

     8h. Other monthly income. Specify: _______________________________                                               8h. + $____________        + $_____________
 9. Add all other income. Add lines 8a + 8b + 8c + 8d + 8e + 8f +8g + 8h.                                             9.    $____________          $_____________

10. Calculate monthly income. Add line 7 + line 9.
    Add the entries in line 10 for Debtor 1 and Debtor 2 or non-filing spouse.                                        10.   $___________    +      $_____________       = $_____________
11. State all other regular contributions to the expenses that you list in Schedule J.
    Include contributions from an unmarried partner, members of your household, your dependents, your roommates, and other
    friends or relatives.
    Do not include any amounts already included in lines 2-10 or amounts that are not available to pay expenses listed in Schedule J.
    Specify: _______________________________________________________________________________                                                                      11. + $_____________

12. Add the amount in the last column of line 10 to the amount in line 11. The result is the combined monthly income.
    Write that amount on the Summary of Your Assets and Liabilities and Certain Statistical Information, if it applies                                            12.     $_____________
                                                                                                                                                                          Combined
                                                                                                                                                                          monthly income
 13. Do you expect an increase or decrease within the year after you file this form?
           No.
           Yes. Explain:


                                                                                        Schedule I: Your Income                                                              page 2
             Case 24-10100-amc                    Doc 13      Filed 02/13/24 Entered 02/13/24 22:27:45                                  Desc Main
                                                             Document     Page 30 of 33
   Fill in this information to identify your case:

   Debtor 1          __________________________________________________________________
                       First Name              Middle Name             Last Name                       Check if this is:
   Debtor 2            ________________________________________________________________
   (Spouse, if filing) First Name              Middle Name             Last Name
                                                                                                           An amended filing
                                                                                                           A supplement showing postpetition chapter 13
   United States Bankruptcy Court for the: __________ District of __________                               expenses as of the following date:
                                                                                                           ________________
   Case number         ___________________________________________                                         MM / DD / YYYY
    (If known)




                                    106J
 Schedule J: Your Expenses                                                                                                                            12/15

 Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
 information. If more space is needed, attach another sheet to this form. On the top of any additional pages, write your name and case number
 (if known). Answer every question.

  Part 1:            Describe Your Household

 1. Is this a joint case?

         No. Go to line 2.
         Yes. Does Debtor 2 live in a separate household?

                      No
                      Yes. Debtor 2 must file Official Form 106J-2, Expenses for Separate Household of Debtor 2.

 2. Do you have dependents?                      No                                 Dependent’s relationship to              Dependent’s    Does dependent live
    Do not list Debtor 1 and                     Yes. Fill out this information for Debtor 1 or Debtor 2                     age            with you?
    Debtor 2.                                    each dependent ..........................
                                                                                                                                                No
    Do not state the dependents’                                                    _________________________                ________
    names.                                                                                                                                      Yes

                                                                                    _________________________                ________           No
                                                                                                                                                Yes

                                                                                    _________________________                ________           No
                                                                                                                                                Yes

                                                                                    _________________________                ________           No
                                                                                                                                                Yes

                                                                                    _________________________                ________           No
                                                                                                                                                Yes

 3. Do your expenses include
                                                 No
    expenses of people other than
    yourself and your dependents?                Yes

 Part 2:         Estimate Your Ongoing Monthly Expenses

 Estimate your expenses as of your bankruptcy filing date unless you are using this form as a supplement in a Chapter 13 case to report
 expenses as of a date after the bankruptcy is filed. If this is a supplemental Schedule J, check the box at the top of the form and fill in the
 applicable date.
 Include expenses paid for with non-cash government assistance if you know the value of
 such assistance and have included it on Schedule I: Your Income (Official Form 106I.)                                          Your expenses

  4. The rental or home ownership expenses for your residence. Include first mortgage payments and
                                                                                                                               $_____________________
      any rent for the ground or lot.                                                                                  4.

      If not included in line 4:
      4a.    Real estate taxes                                                                                         4a.     $_____________________
      4b.    Property, homeowner’s, or renter’s insurance                                                              4b.     $_____________________
      4c.    Home maintenance, repair, and upkeep expenses                                                             4c.     $_____________________
      4d.    Homeowner’s association or condominium dues                                                               4d.     $_____________________

Official Form 106J                                             Schedule J: Your Expenses                                                          page 1
            Case 24-10100-amc                  Doc 13           Filed 02/13/24 Entered 02/13/24 22:27:45                      Desc Main
                                                               Document     Page 31 of 33
 Debtor 1        _______________________________________________________                    Case number (if known)_____________________________________
                 First Name     Middle Name        Last Name




                                                                                                                       Your expenses

                                                                                                                      $_____________________
 5. Additional mortgage payments for your residence, such as home equity loans                                 5.


 6. Utilities:

      6a.   Electricity, heat, natural gas                                                                     6a.    $_____________________
      6b.   Water, sewer, garbage collection                                                                   6b.    $_____________________
      6c.   Telephone, cell phone, Internet, satellite, and cable services                                     6c.    $_____________________
      6d.   Other. Specify: _______________________________________________                                    6d.    $_____________________

 7. Food and housekeeping supplies                                                                             7.     $_____________________

 8. Childcare and children’s education costs                                                                   8.     $_____________________
 9. Clothing, laundry, and dry cleaning                                                                        9.     $_____________________
10.   Personal care products and services                                                                      10.    $_____________________
11.   Medical and dental expenses                                                                              11.    $_____________________

12. Transportation. Include gas, maintenance, bus or train fare.
                                                                                                                      $_____________________
      Do not include car payments.                                                                             12.

13.   Entertainment, clubs, recreation, newspapers, magazines, and books                                       13.    $_____________________
14.   Charitable contributions and religious donations                                                         14.    $_____________________
                                                                                                                                                     1
15.   Insurance.
      Do not include insurance deducted from your pay or included in lines 4 or 20.

      15a. Life insurance                                                                                      15a.   $_____________________
      15b. Health insurance                                                                                    15b.   $_____________________
      15c. Vehicle insurance                                                                                   15c.   $_____________________
      15d. Other insurance. Specify:_______________________________________                                    15d.   $_____________________

16.   Taxes. Do not include taxes deducted from your pay or included in lines 4 or 20.
      Specify: ________________________________________________________                                        16.    $_____________________

17.   Installment or lease payments:
      17a. Car payments for Vehicle 1                                                                          17a.   $_____________________

      17b. Car payments for Vehicle 2                                                                          17b.   $_____________________

      17c. Other. Specify:_______________________________________________                                      17c.   $_____________________

      17d. Other. Specify:_______________________________________________                                      17d.   $_____________________

18.   Your payments of alimony, maintenance, and support that you did not report as deducted from
      your pay on line 5, Schedule I, Your Income (Official Form 106I).                                         18.
                                                                                                                      $_____________________

19.   Other payments you make to support others who do not live with you.
      Specify:_______________________________________________________                                           19.   $_____________________

20. Other real property expenses not included in lines 4 or 5 of this form or on Schedule I: Your Income.

      20a. Mortgages on other property                                                                         20a.   $_____________________

      20b. Real estate taxes                                                                                   20b.   $_____________________

      20c. Property, homeowner’s, or renter’s insurance                                                        20c.   $_____________________

      20d. Maintenance, repair, and upkeep expenses                                                            20d.   $_____________________

      20e. Homeowner’s association or condominium dues                                                         20e.   $_____________________



                                                                Schedule J: Your Expenses                                                   page 2
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 Debtor 1        _______________________________________________________                      Case number (if known)_____________________________________
                 First Name    Middle Name        Last Name




21.    Other. Specify: _________________________________________________                                         21.   +$_____________________

22.    Calculate your monthly expenses.

       22a. Add lines 4 through 21.                                                                            22a.     $_____________________

       22b. Copy line 22 (monthly expenses for Debtor 2), if any, from Official Form 106J-2                    22b.     $_____________________

       22c. Add line 22a and 22b. The result is your monthly expenses.                                         22c.     $_____________________



23. Calculate your monthly net income.

             Copy line 12 (your combined monthly income) from Schedule I.                                                $_____________________
      23a.                                                                                                      23a.

      23b.   Copy your monthly expenses from line 22c above.                                                    23b.   – $_____________________
      23c.   Subtract your monthly expenses from your monthly income.
                                                                                                                         $_____________________
             The result is your monthly net income.                                                             23c.




24. Do you expect an increase or decrease in your expenses within the year after you file this form?

      For example, do you expect to finish paying for your car loan within the year or do you expect your
      mortgage payment to increase or decrease because of a modification to the terms of your mortgage?

         No.
         Yes.      Explain here:




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